       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 1 of 33




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND
                               GREENBELT DIVISION


SAQIB ALI                                   Case No. 1:19-CV-00078-BPG

            Plaintiff,                      PLAINTIFF’S COMBINED
                                            OPPOSITION TO DEFENDANTS’
      v.                                    MOTIONS TO DISMISS

LAWRENCE HOGAN, in his official
capacity as Governor of Maryland, and

BRIAN FROSH, in his official capacity
as Attorney General of Maryland,

            Defendants.




                                        i
             Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 2 of 33



                                            TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................ ii

TABLE OF AUTHORITIES ......................................................................................... iii

INTRODUCTION .......................................................................................................... 1

BACKGROUND ............................................................................................................. 2

ARGUMENT .................................................................................................................. 4

I.    ALI HAS STANDING TO CHALLENGE THE EXECUTIVE ORDER................ 4

II.       DEFENDANTS ARE PROPER PARTIES UNDER EX PARTE YOUNG ........... 7

     A.     THE GOVERNOR IS A PROPER DEFENDANT UNDER EX PARTE YOUNG ................... 7

     B.     THE ATTORNEY GENERAL IS A PROPER PARTY UNDER EX PARTE YOUNG ............. 8

III. THE ANTI-BDS EXECUTIVE ORDER VIOLATES ALI’S CONSTITUTIONAL
RIGHT TO ENGAGE IN POLITICAL BOYCOTTS................................................... 10

     A.     CLAIBORNE RESOLVES THIS DISPUTE ................................................................. 10

      1)      Claiborne Prohibits the Anti-BDS Executive Order .................................... 10

      2)      The Governor’s Various Attempts to Distinguish Claiborne Fail................ 11

     B.     LONGSHOREMEN AND FAIR DO NOT APPLY ....................................................... 19

      1) Longshoremen Does Not Apply Outside of the Labor Context or to
      Viewpoint-Based Suppression of Expressive Conduct ........................................ 20

      2) FAIR Does Not Apply to Boycotts or to Viewpoint-Based Suppression of
      Expressive Conduct ............................................................................................... 21

     C.     ARKANSAS TIMES IS WRONGLY DECIDED ........................................................... 22

     D.     JORDAHL IS ON ALL FOURS WITH THIS CASE ...................................................... 23

IV. THE EXECUTIVE ORDER UNCONSTITUTIONALLY COMPELS
SPEECH ....................................................................................................................... 25

V.        THE EXECUTIVE ORDER IS VAGUE AND OVERBROAD ............................ 26

CONCLUSION............................................................................................................. 27

                                                               ii
           Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 3 of 33



                                       TABLE OF AUTHORITIES

CASES

AFSCME Council 79 v. Scott,
 278 F.R.D. 664 S.D. Fla. 2011)................................................................................... 7

Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc.,
 570 U.S. 205 (2013) .................................................................................................. 25

Anglin v. Blue Shield of Virginia,
 693 F.2d 315 (4th Cir. 1982) .................................................................................... 24

Arkansas Times LP v. Waldrip,
 --- F. Supp. 3d ---, 2019 WL 580669 (E.D. Ark. Jan. 23, 2019) ............... 2, 11, 22, 23

Arkansas Writers’ Project, Inc. v. Ragland,
 481 U.S. 221 (1987) .................................................................................................. 17

Bd. of Ancient Order of Hibernians v. Dinkins,
 814 F. Supp. 358 (S.D.N.Y. 1993) ............................................................................ 16

Bd. of Cty. Comm’rs, Wabaunsee Cty., Kan. v. Umbehr,
 518 U.S. 668 (1996) .................................................................................................. 18

Boos v. Barry,
 485 U.S. 312 (1988) ............................................................................................ 15, 20

Boy Scouts of Am. v. Dale,
 530 U.S. 640 (2000) .................................................................................................. 19

Bushey v. N. Assur. Co. of Am.,
 362 Md. 626 (2001) ..................................................................................................... 5

City of Bristol v. Earley,
  145 F. Supp. 2d 741 (W.D. Va. 2001) ....................................................................... 10

Coates v. Cincinnati,
 402 U.S. 611 (1971) .................................................................................................. 26

Cole v. Richardson,
 405 U.S. 676 (1972) .................................................................................................. 25

Connor B. ex rel. Vigurs v. Patrick,
 771 F. Supp. 2d 142 (D. Mass. 2011) ......................................................................... 7



                                                            iii
           Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 4 of 33



Coyne-Delany Co. v. Capital Dev. Bd. of State of Ill.,
 616 F.2d 341 (7th Cir. 1980) .................................................................................... 18

D.G. Restaurant Corp. v. City of Myrtle Beach,
  953 F.2d 140 (4th Cir. 1991) .................................................................................... 17

Does 1-5 v. Cooper,
 40 F. Supp. 3d 657 (M.D.N.C. 2014) ........................................................................ 10

Duke Energy Trading & Mktg., L.L.C. v. Davis,
 267 F.3d 1042 (9th Cir. 2001) .................................................................................... 7

Ex Parte Young
  209 U.S. 123 (1908) ..................................................................................... 7, 8, 9, 10

Farm Labor Org. Comm. v. Stein,
 No. 17-CV-1037, 2018 WL 3999638 (M.D.N.C. Aug. 21, 2018) .............................. 10

FTC v. Superior Court Trial Lawyers Association,
 493 U.S. 411 (1990) ...................................................................................... 14, 22, 24

Goldfarb v. Mayor & City Council of Baltimore,
 791 F.3d 500 (4th Cir. 2015) ...................................................................................... 4

Hall v. Virginia,
 385 F.3d 421 (4th Cir. 2004) ...................................................................................... 4

Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos.,
 515 U.S. 557 (1995) .................................................................................................. 15

Image Carrier Corp. v. Beame,
  567 F.2d 1197, 1201 (2d Cir. 1977) ............................................................................ 6

Int’l Bhd. of Elec. Workers, Local 501 v. N.L.R.B.,
  181 F.2d 34 (2d Cir. 1950) ........................................................................................ 12

Int’l Longshoremen’s Ass’n, AFL-CIO v. Allied Int’l, Inc.,
  456 U.S. 212 (1982) ................................................................................ 12, 20, 21, 22

Invisible Empire of the KKK v. Thurmont,
  700 F. Supp. 281 (D. Md. 1988)................................................................................ 16

Jordahl v. Brnovich,
  336 F. Supp. 3d 1016 (D. Ariz. 2018) ............................................................... passim

Koontz v. Watson,
 F. Supp. 3d 1007 (D. Kan. 2018) .................................................................... 2, 11, 22

                                                           iv
           Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 5 of 33



Leathers v. Medlock,
  499 U.S. 439 (1991) .................................................................................................. 17

LeClerc v. Webb,
  419 F.3d 405 (5th Cir. 2005) ...................................................................................... 6

McBurney v. Cuccinelli,
 616 F.3d 393 (4th Cir. 2010) ...................................................................................... 9

McCutcheon v. Fed. Election Comm’n,
 572 U.S. 185 (2014) .................................................................................................. 19

Minneapolis Star & Tribune Co. v. Minnesota Comm’r of Revenue,
 460 U.S. 575 (1983) ............................................................................................ 16, 17

Mobil Oil Corp. v. Attorney Gen. of Com. of Va.,
 940 F.2d 73 (4th Cir. 1991) .................................................................................. 8, 10

NAACP v. Claiborne Hardware Co.,
 458 U.S. 886 (1982) .......................................................................................... passim

Papasan v. Allain,
 478 U.S. 265 (1986) .................................................................................................... 8

Paul v. Davis,
 424 U.S. 693 (1976) .................................................................................................. 19

R.A.V. v. City of St. Paul, Minn.,
  505 U.S. 377 (1992). ..................................................................................... 14, 15, 16

Reeves, Inc. v. Stake,
 447 U.S. 429 (1980) .................................................................................................. 18

Regan v. Taxation with Representation of Washington,
 461 U.S. 540 (1983) .................................................................................................. 18

Richmond, Fredericksburg & Potomac R. Co. v. Bhd. of Maint. of Way Employees,
  795 F.2d 1161 (4th Cir. 1986) .................................................................................. 13

Roberts v. U.S. Jaycees,
 468 U.S. 609 (1984) ...................................................................................... 15, 16, 17

Rumsfeld v. FAIR,
 547 U.S. 47 (2006) ............................................................................................ passim

Rust v. Sullivan,
 500 U.S. 173 (1991) .................................................................................................. 18

                                                            v
           Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 6 of 33



S.C. Wildlife Fed’n v. Limehouse,
  549 F.3d 324 (4th Cir. 2008) .................................................................................. 8, 9

Times-Picayune Pub. Co. v. United States,
  345 U.S. 594 (1953) .................................................................................................. 24

United States v. Albertini,
 472 U.S. 675 (1985) .................................................................................................. 21

United States v. Am. Library Ass’n, Inc.,
 539 U.S. 194 (2003) .................................................................................................. 18

United States v. O’Brien,
 31 U.S. 367 (1968) .............................................................................................. 17, 21

Virginia Vermiculite, Ltd. v. W.R. Grace & Co.- Connecticut,
  156 F.3d 535 (4th Cir. 1998) .................................................................................... 13

W. Va. State Bd. of Educ. v. Barnette,
 319 U.S. 624 (1943) .................................................................................................. 25

Waste Management Holdings, Inc. v. Gilmore,
 252 F.3d 316 (4th Cir. 2001) ...................................................................................... 7

Wisconsin v. Constantineau,
 400 U.S. 433 (1971) .................................................................................................. 19

STATUTES

42 U.S.C. § 2000e-2 ...................................................................................................... 15

Md. Code, Gen. Prov. § 4-101(j)(1)(i) ............................................................................. 4

Md. Code, Gen. Prov. § 8-102(b) .................................................................................... 6

Md. Code, State Fin. & Proc. § 11-205.1(a)................................................................... 6

Md. Code, State Fin. & Proc. § 13-206(a)(1)(i) .............................................................. 6

Md. Code, State Fin. & Proc. § 16-203(a)(12) ....................................................... 6, 8, 9

Md. Code, State Gov’t § 20-606 ................................................................................... 15

Md. Code, State Gov’t § 3-302 ....................................................................................... 8

OTHER AUTHORITIES

Executive Order 01.01.2017.25(B) ...................................................................... passim
                                                             vi
        Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 7 of 33



                                 INTRODUCTION

       Having failed to pass his policy goals in the legislature, Governor Hogan’s

Executive Order punishes Saqib Ali and other potential government contractors for

exercising their constitutional right to engage in a political boycott. The Governor is

disciplining Ali for his activism by denying him the right to even bid on, much less

enter into, government contracts unless he vows to not boycott Israel.

       The Governor’s Executive Order violates the First Amendment. Decades ago,

in the midst of the Civil Rights Movement, government officials tried similar anti-

boycott tactics to block activists who engaged in mass boycotts to combat racism. The

resulting unanimous Supreme Court decision NAACP v. Claiborne Hardware, 458

U.S. 886 (1982), controls this case. Ali has a First Amendment right to engage in

political boycotts.

       The Governor’s Executive Order is part of a wave of state efforts to block pro-

Palestinian advocacy. Whether through legislation, executive orders, or resolutions,

at least 26 states have enacted Anti-Boycott, Divestment, and Sanctions (“BDS”)

movement measures. In response, two federal courts have already enjoined

substantively similar state laws as facially unconstitutional under the First

Amendment. In Arizona, a federal district court found that “the [Arizona] Act’s

history … suggests that the goal of the Act is to penalize the efforts of those engaged

in political boycotts of Israel,” then held that “such an interest is constitutionally

impermissible.” Jordahl v. Brnovich, 336 F. Supp. 3d 1016, 1049-50 (D. Ariz. 2018).

In Kansas, another federal district court concluded that those who band together

through boycotts to express solidarity with Palestinians “seek to amplify their voices
                                          1
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 8 of 33



to influence change” and “are engaged in protected activity.” Koontz v. Watson,

F. Supp. 3d 1007, 1022 (D. Kan. 2018). The court enjoined the Kansas law because

“forcing plaintiff to disown her boycott is akin to forcing plaintiff to accommodate

Kansas’s message of support for Israel.” Id. at 1024. A third court, Arkansas Times

LP v. Waldrip, No. 4:18-CV-00914, --- F. Supp. 3d ---, 2019 WL 580669 (E.D. Ark. Jan.

23, 2019), disagreed with those decisions and approved of Arkansas’s anti-BDS law,

but that case was wrongly decided and is now on appeal to the Eighth Circuit.

      The same First Amendment principles from Jordahl and Koontz dictate an

identical outcome here. The Governor’s “No Boycott of Israel” certification

requirement violates the Constitution. The Governor’s (Dkt. 9-1) and Attorney

General Frosh’s (Dkt. 10-1) Motions to Dismiss should be denied.

                                  BACKGROUND

      Ali is a software engineer and former member of the Maryland House of

Delegates. Complaint, Dkt. 1 ¶¶ 6, 29-32. He is also a supporter of Palestinian rights.

Id. ¶¶ 33-34. Ali’s activism on Palestinian rights have caused him to lead public

demonstrations, write op-eds, lobby elected officials, and testify in public hearings.

Id. ¶ 36. He has also organized in support of anti-Israel boycotts, known as the

“Boycott, Divestment and Sanctions (BDS)” movement, including organizing his own

coalition, “Freedom2Boycott in Maryland.” Id. ¶¶ 15, 35-36. Along with this activism,

Ali personally boycotts Israel, including refusing to purchase Sabra hummus and

SodaStream products. Id. ¶ 35.

      In 2017, after the Maryland Legislature declined to pass a statutory anti-BDS

law, the Governor issued Executive Order 01.01.2017.25(B). Id. at ¶ 21. The
                                          2
        Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 9 of 33



Executive Order specifically bars agencies from entering into procurement contracts

with a “business entity” that boycotts Israel. Executive Order at § at B. The definition

of “business entity” includes a “sole proprietorship … including … any developer,

consultant, contractor, supplier, or vendor.” Executive Order at § A(2). The Executive

Order also requires all agencies to require bidders to certify they do not and will not

boycott Israel, see id. at § B, whether or not the bidder is a “business entity,” see id.

at § C. The Governor’s signing declaration and press release explicitly state that the

purpose of the Executive Order was to “oppos[e]” the “shameful BDS movement.”

Complaint ¶ 22.

      Ali seeks to bid on state contracts that match his qualifications as a software

engineer. Complaint ¶ 39. Except for the prohibitions in the Executive Order, Ali was

qualified to bid on two specific government contracts: one to create software to

evaluate life insurance policies for the Chief Actuary, and one to support Medicaid

services software for the Department of Aging. Id. at ¶ 40. Ali could not fill out the

bid forms because of the “No Boycott of Israel” certification requirement added by

Section C of the Executive Order. Id. at ¶¶ 40-41. Since the filing of this Complaint,

the   Maryland     Department      of   Information    Technology,     Maryland     Port

Administration, and Maryland Stadium Authority have posted requests for bidding




                                           3
         Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 10 of 33



on software services that Ali would also be qualified and interested in bidding on.1

He is likewise ineligible to bid on these contracts due to the Executive Order.

         Due to this ongoing infringement on his Constitutional rights, Ali brought this

lawsuit against the Governor and Attorney General. The Complaint alleges a single

count, the violation of Ali’s rights under the First Amendment of the Constitution.

The Governor and Attorney General have each moved to dismiss. Both Motions

should be denied. Ali has standing, the Court has jurisdiction, the Attorney General

and Governor are both proper parties, and the Executive Order violates the First

Amendment.

                                      ARGUMENT

I.       ALI HAS STANDING TO CHALLENGE THE EXECUTIVE ORDER

         Ali is bound by the Executive Order as both a “business entity” and as a

prospective contractor. The Governor’s arguments to the contrary (Gov. MTD at 7-10)

belie the plain language of his own edict.

         The Executive Order’s definition of “business entity” expressly includes a “sole

proprietorship … including … any developer, consultant, contractor, supplier, or

vendor.” Executive Order at § A(2). Ali, an experienced software engineer, intends to

bid on contracts as a sole proprietor.       Complaint ¶¶ 39-40.     Maryland—like all



     1 See Maryland Government Contracts MDF5031037782, MDF5031037112,
MDF5031036069, MDJ0331043050, and MDD2831043080,                       available at
https://emaryland.buyspeed.com/bso/external/publicBids.sdo. Government contract
RFPs are public records, see Md. Code, Gen. Prov. § 4-101(j)(1)(i), and may be
considered in deciding a motion to dismiss, Hall v. Virginia, 385 F.3d 421, 424 n. 3
(4th Cir. 2004); see also Goldfarb v. Mayor & City Council of Baltimore, 791 F.3d 500,
506-07 (4th Cir. 2015).
                                             4
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 11 of 33



states—makes no distinction between an individual and a sole proprietorship.

Instead, “[t]he sole proprietorship form of business provides ‘complete identity of the

business entity with the proprietor himself.’” Bushey v. N. Assur. Co. of Am., 362 Md.

626, 637 (2001) (citation omitted). Because Ali boycotts Israel, Ali’s sole

proprietorship also boycotts Israel. Ali’s boycott bars his sole proprietorship from

entering into any government contracts under Section B of the Executive Order.

      The Executive Order also applies to all “bidders” for government contracts,

regardless of their status as a “business entity.” Section C of the Executive Order

requires a certification from any “bidder” that they do not boycott Israel. Nowhere in

Section C is that requirement limited to bidders who are also “business entities.” For

Ali to bid on any Maryland government contract, he would have to sign the

certification required by Section C. This is true whether his sole proprietorship

makes him a “business entity” or not. The Executive Order affects Ali regardless of

the legal classification of his business entity.

      The Governor claims that Ali lacks standing because Ali “appears not to have

submitted a bid or proposal or had one rejected in a way that is traceable to the

Order’s provisions.” Gov. MTD at 10. But Ali need not actually submit a bid in order

to have standing to ask for the ability to submit bids. Ali was interested in bidding

on two recent contracts which he was otherwise qualified to bid on. Complaint ¶¶ 40-

41. Due to the Executive Order, Ali cannot bid on these contracts. To bid, Ali must

“certify[y] and agree[] that the bidder … has not … taken other actions intended to

limit commercial relations, with a person or entity on the basis of Israeli national



                                            5
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 12 of 33



origin, or residence or incorporation in Israel and its territories.” Executive Order §

C. Ali cannot bid because he will not lie. Doing so would not only potentially subject

Ali to civil or criminal penalties for false statements, it is also contrary to Ali’s

sincerely-held religious beliefs against lying. See Md. Code, State Fin. & Proc. § 11-

205.1(a); Md. Code, State Fin. & Proc. § 16-203(a)(12); and Md. Code, Gen. Prov. § 8-

102(b). The Governor’s Executive Order prevents Ali from taking the very “bid” step

the Governor now claims is necessary before Ali can challenge the Governor’s

unconstitutional actions.

      Sure, Ali could physically submit a bid proposal while striking out the “No

Boycott of Israel” certification or leaving it blank. But standing does not require Ali

to engage in futile bids. Image Carrier Corp. v. Beame, 567 F.2d 1197, 1201 (2d Cir.

1977) (no requirement to bid for standing if bidding would be futile). Under Section

B of the Executive Order, any bid-recipient agency would be required to reject Ali’s

bid absent the mandatory “No Boycott of Israel” certification. A missing certification

would render Ali’s bid incomplete and nonresponsive. Md. Code, State Fin. & Proc. §

13-206(a)(1)(i) (“A procurement officer shall reject a bid or proposal” that is

“nonresponsive”). Ali has standing because he cannot bid; he need not undertake the

time and expense to submit a technical bid he knows he is ineligible for due to the

challenged government policy. LeClerc v. Webb, 419 F.3d 405, 413 (5th Cir. 2005)

(“strict adherence to the standing doctrine may be excused when a policy’s flat

prohibition would render submission futile”).




                                          6
        Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 13 of 33



       Ali has already been harmed by the State because the Governor has rendered

 him ineligible to bid for or receive government contracts.       Ali has standing to

 challenge the Anti-BDS Executive Order.

II.    DEFENDANTS ARE PROPER PARTIES UNDER EX PARTE YOUNG

       Both defendants incorrectly challenge jurisdiction under Ex Parte Young, 209

 U.S. 123 (1908). Gov. MTD at 13-14; AG MTD passim.

       A.     The Governor Is a Proper Defendant under Ex Parte Young

       Contrary to his assertions (Gov. MTD at 13-15), the Governor has a “special

 relationship” with his own Executive Order, making him a proper defendant. Courts

 consistently hold that the Governor is a proper party under Ex Parte Young when a

 plaintiff seeks to challenge an executive order. See AFSCME Council 79 v. Scott, 278

 F.R.D. 664, 670-71 (S.D. Fla. 2011); Duke Energy Trading & Mktg., L.L.C. v. Davis,

 267 F.3d 1042, 1053-54 (9th Cir. 2001); Connor B. ex rel. Vigurs v. Patrick, 771 F.

 Supp. 2d 142, 159 (D. Mass. 2011). The Governor issued, and may unilaterally

 revoke, the Anti-BDS Executive Order. This alone makes him a proper party.

       For this reason, the Governor’s reliance (Gov. MTD at 14) on Waste

 Management Holdings, Inc. v. Gilmore, 252 F.3d 316, 331 (4th Cir. 2001) is misplaced.

 That case holds that a Governor might not to be a proper party under Ex Parte Young

 when plaintiffs are challenging an unconstitutional statute passed by the legislature.

 It does not apply to Executive Orders such as the one here.

       The Governor is separately a proper defendant because he directly oversees

 the affected acquisition policies and practices of the agencies. Papasan v. Allain, 478

 U.S. 265, 282 n.14 (1986); see also Md. Code, State Gov’t § 3-302.

                                           7
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 14 of 33



      The Governor has already acted by mandating the “No Boycott of Israel”

certification requirement which prevents Ali from even bidding on a Maryland

government contract. See Section I, above. So the Governor’s claims (Gov. MTD at

15) that he is not a proper party because he has not “acted or threatened to act” is

simply wrong.     Even absent the certification requirement, the recency of his

Executive Order constitutes sufficient likelihood of its enforcement for Ex Parte

Young purposes. See Mobil Oil Corp. v. Attorney Gen. of Com. of Va., 940 F.2d 73, 76

(4th Cir. 1991) (“We see no reason to assume that the Virginia legislature enacted

this statute without intending it to be enforced.”) (citing Va. v. Am. Booksellers Ass’n,

Inc., 484 U.S. 383, 393 (1988)).

      B.     The Attorney General Is a Proper Party under Ex Parte Young

      The Attorney General is also proper party, for a reason the Attorney General

notes in his own Motion. As the Attorney General concedes, he “has the authority, for

example, to seek debarment of vendors who violate Maryland’s procurement laws.”

AG MTD at 5; see also Md. Code, State Fin. & Proc. § 16-203(a)(12). This specific

authority makes him a proper party for purposes of Ex Parte Young.

      This authority is all that is needed for a “special relation” under Ex Parte

Young. As the Fourth Circuit has explained, any “proximity to and responsibility for

the challenged state action” gives rise to a special relationship. S.C. Wildlife Fed’n v.

Limehouse, 549 F.3d 324, 333 (4th Cir. 2008) (emphasis original). In McBurney v.

Cuccinelli, 616 F.3d 393, 400 (4th Cir. 2010), relied on by the Attorney General and

the Governor, the Fourth Circuit explained Limehouse as it applied to Attorneys

General. There an Attorney General was not a proper party because he did not have
                                           8
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 15 of 33



specified authority to enforce the challenged law. Instead, it was the Commonwealth’s

Attorneys—a different set of government officials—who had enforcement authority.

Id. Here, the Attorney General specifically concedes that he has specific authority to

enforce the Executive Order under Md. Code, State Fin. & Proc. § 16-203(a)(12). See

AG MTD at 5.

      Indeed, the same jurisdictional arguments made by the Attorney General were

also made by the Arizona Attorney General in Jordahl, 336 F. Supp. 3d at 1035-36.

The Jordahl Court rejected these arguments based on the Arizona Attorney General’s

parallel statutory enforcement duty in that state.     Id. at 1035. As explained by

Jordahl, “the lack of direct enforcement authority does not necessarily mean that the

Attorney General's authority is unconnected.” Id. Instead, Ex Parte Young applies

when “there is a sufficient connection between the official’s responsibilities and the

injury that Plaintiffs might suffer,” Id. In Jordahl, the Court held that “a sufficient

connection exists between the Attorney General's authority to prosecute persons

illegally paying public contractors and Plaintiffs’ injuries.” Id. The same result is

proper here given the Attorney General’s role in disbarment and criminal prosecution

for violation of the Executive Order and its “No Boycott of Israel” certification

requirement.

      Like the Governor, the Attorney General claims that even if a special

relationship exists, he should be dismissed under Ex Parte Young because he has “not

acted or threatened to act.” AG MTD at 8-9. But the Fourth Circuit has held that

when an attorney general otherwise has statutory authority to enforce a challenged



                                          9
           Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 16 of 33



  law (as he does here), the attorney general’s obligation to enforce the threat

  constitutes a threat to act, at least when the Attorney General has not expressly

  “disclaimed any intention of exercising her enforcement authority,” Mobil Oil Corp.,

  940 F.2d at 76.2 Since the Attorney General has not expressly disclaimed using his

  authority to enforce the Anti-BDS Executive Order, he is a proper defendant.

III.       THE ANTI-BDS EXECUTIVE ORDER VIOLATES ALI’S
           CONSTITUTIONAL RIGHT TO ENGAGE IN POLITICAL BOYCOTTS

           A.    Claiborne Resolves this Dispute

                 1)     Claiborne Prohibits the Anti-BDS Executive Order

           Despite the Governor’s protests to the contrary (see Gov. MTD at 16-17),

  NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982) prohibits the Governor’s

  Executive Order.

           In Claiborne, a group of black activists in Mississippi voted to boycott white

  merchants in opposition to those businesses’ racist practices. 458 U.S at 889, 907. The

  activists then monitored their community’s patronage of the stores, picketing the

  storefronts and urging people to shop elsewhere. Id. at 894, 907. The Supreme Court’s

  decision was not ambiguous: Claiborne unanimously held that each “elemen[t] of the

  boycott is a form of speech or conduct” entitled to protection under the First




       See also Farm Labor Org. Comm. v. Stein, No. 17-CV-1037, 2018 WL 3999638,
       2

  at *13 (M.D.N.C. Aug. 21, 2018), report and recommendation adopted, 2018 WL
  4518696 (M.D.N.C. Sept. 20, 2018) (Attorney General proper Ex Parte Young party
  under Mobil Oil despite lack of threat); see also Does 1-5 v. Cooper, 40 F. Supp. 3d
  657, 674 (M.D.N.C. 2014) (Attorney General proper Ex Parte Young party under
  Mobil Oil, despite disclaiming authority to enforce the statute); City of Bristol v.
  Earley, 145 F. Supp. 2d 741, 746 (W.D. Va. 2001) (Attorney General proper Ex Parte
  Young party under Mobil Oil, despite no mention of any threat of prosecution).
                                             10
        Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 17 of 33



Amendment. Id. at 907. “The black citizens … in this action banded together and

collectively expressed their dissatisfaction with a social structure that had denied

them rights to equal treatment and respect.” Id.

        Since last year, two different federal courts have relied on Claiborne to

conclude that politically-motivated boycotts of Israel are fully protected expressive

activity. “Collective boycotting activities undertaken to achieve social, political or

economic ends is conduct that is protected by the First Amendment.” Jordahl, 336 F.

Supp. 3d at 1041 (enjoining Arizona anti-BDS law). Such protests seek to band

individuals together “to express, collectively, their dissatisfaction with Israel and to

influence governmental action…[They] and others participating in this boycott of

Israel seek to amplify their voices to influence change, as did the boycotters in

Claiborne.” Koontz, 283 F. Supp. 3d at 1022 (enjoining Kansas anti-BDS law). The

same result from in Jordahl and Koontz applies here.3

              2)    The Governor’s Various Attempts to Distinguish
                    Claiborne Fail

                    a.     Claiborne Applies to Secondary Boycotts

        The Governor first argues that Claiborne only applies to primary, not

secondary boycotts. Gov. MTD at 22-23. A primary boycott is one where the entity

being boycotted is the one whose conduct is directly at issue, while a secondary

boycott is targeted at third parties to compel that third party to change its

relationship with the primary target. See Int’l Bhd. of Elec. Workers, Local 501 v.


    3
     A third district court case, Arkansas Times, 2019 WL 580669, upheld an Anti-
BDS Act, but that law was wrongly decided for the reasons explained in Section C,
below.
                                          11
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 18 of 33



N.L.R.B., 181 F.2d 34, 37 (2d Cir. 1950) (Hand, J.), aff’d, 341 U.S. 694 (1951).

Claiborne itself involved secondary boycotts, which the Court found protected. 458

U.S. at 898-899. The protestors had agreed to boycott all white stores (not just stores

with segregation policies) until 19 specific demands were met, including

“desegregation of all public schools and public facilities, the hiring of black policemen,

public improvements in black residential areas, selection of blacks for jury duty,

integration of bus stations so that blacks could use all facilities, and an end to verbal

abuse by law enforcement officers.” Id. Later, the boycott of all white stores focused

on forcing a federally-funded community action program to agree to purchase food

from black stores. Id. at 900-01. And still later, the same boycott was reimposed until

the Port Gibson Police Force adequately responded to the shooting of a black male.

Id. at 902.

      Because Claiborne involved secondary boycotts, the Mississippi Supreme

Court decision reversed by Claiborne found that plaintiffs “suffered injury to their

respective businesses as the direct and proximate result of the unlawful secondary

boycott.” Id. at 920 n.57. And it is why Claiborne distinguished Int’l Longshoremen’s

Ass’n, AFL-CIO v. Allied Int’l, Inc., 456 U.S. 212 (1982), noting that although the

government cannot prohibit political boycotts generally, “[s]econdary boycotts and

picketing by labor unions may be prohibited, as part of Congress striking of the

delicate balance” required for labor relations. 458 U.S. at 912 (emphasis added); see

also Section B(1), below (discussing Longshoremen).




                                           12
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 19 of 33



      Claiborne enshrines First Amendment protection for politically-motivated

boycotts into law. The Fourth Circuit has recognized it for that proposition. See

Virginia Vermiculite, Ltd. v. W.R. Grace & Co.- Connecticut, 156 F.3d 535, 541 n.2

(4th Cir. 1998); Richmond, Fredericksburg & Potomac R. Co. v. Bhd. of Maint. of Way

Employees, 795 F.2d 1161, 1163 (4th Cir. 1986). Claiborne protects Ali’s participation

in the Boycott, Divestment, and Sanctions movement.

                    b.     Claiborne Applies to Laws Prohibiting Political Boycotts
                           Regardless of whether they also Prohibit Speech

      The Governor claims that for Claiborne to apply he must punish Ali’s speech,

and not just Ali’s expressive boycott conduct. See MTD at 18. Claiborne rejected that

proposition. Claiborne instead held that the Government could not punish the boycott

alone, separate from speech, because they are inseparable. 458 U.S. at 9125 (the

“boycott clearly involved constitutionally protected activity,” and its speech elements,

“though not identical, are inseparable”).

      In any event, the Governor’s mandatory “No Boycott of Israel” certification

requirement expressly requires boycotters to engage in speech, which may be

punished based on its content. See Section IV, below; Jordahl, 336 F. Supp. 3d at

1042 (recognizing that a “promise to refrain from engaging in certain actions that are

taken in response to larger calls to action that the state opposes” is “infringing on the

very kind of expressive conduct at issue in Claiborne”).

                    c.     The Executive Order Does Not Merely Incidentally Impact
                           Expressive Conduct

      The Governor also attempts to distinguish Claiborne because, according to the

Governor, the Executive Order only has an incidental impact on speech. Gov. MTD

                                            13
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 20 of 33



at 26-31. This is untrue. The Executive Order’s “Whereas” clauses show that it is

designed to suppress disfavored expression. These clauses include the statement that

“[b]oycotts of people or entities because of their Israeli national origin … undermin[e]

the Declaration of Cooperation” and that “[i]t is the public policy of the United States,

as enshrined in several federal laws, to oppose certain boycotts of Israel.” Indeed,

because the Executive Order only prohibits political boycotts of Israel (and Israel

only), and excludes boycotts “for business or economics reason,” the Executive Order

applies only when identical conduct includes a disfavored expressive element. This is

the exact opposite of what is permitted under FTC v. Superior Court Trial Lawyers

Association, 493 U.S. 411, 415-16 (1990) (distinguishing between unprotected

boycotts that seek “economic advantage” and protected boycotts that seek “to change

a social order”).

       The Supreme Court has held that even when a government may proscribe

speech based on a “noncontent element” it cannot proscribe the same speech based on

a content element. RAV v. St. Paul, 505 U.S. 377, 386 (1992). As the Court explained:

“The government may proscribe libel; but it may not make the further content

discrimination of proscribing only libel critical of the government.” Id. (emphasis

original). Such a content distinction triggers First Amendment strict scrutiny. “The

only interest distinctively served by the content limitation is that of displaying the

[government’s] special hostility towards the particular biases thus singled out. That

is precisely what the First Amendment forbids.” Id. at 395–96.




                                           14
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 21 of 33



      The Governor similarly seeks to compare the Executive Order to “more general

commercial anti-discrimination policy.” Gov. MTD at 30. But, unlike other

antidiscrimination laws the Executive Order is not content neutral. See e.g., 42 U.S.C.

§ 2000e-2; Md. Code, State Gov’t § 20-606.        Instead, the Executive Order only

prohibits one form of national-origin discrimination: discrimination against Israel.

Executive Order at §§ A-C. Under the Executive Order, whether contractors may

participate in political boycotts about the Middle East depends entirely upon whether

their boycott is critical of Israel, as opposed to any other government, company, or

cause. Ali remains free, for example, to economically boycott Palestine. He is also free

to economically boycott Saudi Arabia and Iraq. He also remains free to boycott any

domestic state, company, or cause. The Governor’s Executive Order only targets anti-

Israel boycotts. This makes the Executive Order impermissibly content-based. See

Boos v. Barry, 485 U.S. 312, 319 (1988) (“Whether individuals may picket in front of

a foreign embassy depends entirely upon whether their picket signs are critical of the

foreign government or not.”).

      In general, content-neutral antidiscrimination laws may incidentally regulate

expressive conduct because they are narrowly tailored to serve a compelling state

interest. See Roberts v. U.S. Jaycees, 468 U.S. 609, 623-24 (1984); but see Hurley v.

Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 573 (1995) (even

neutral antidiscrimination law may not prohibit certain expressive conduct). To be

tailored to meet a compelling state interest, the antidiscrimination law must “not aim

at the suppression of speech, [must] not distinguish between prohibited and



                                          15
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 22 of 33



permitted activity on the basis of viewpoint, and [must] not license enforcement

authorities to administer the statute on the basis of such constitutionally

impermissible criteria.” Jaycees, 468 U.S. at 623.

      Because the Governor’s content-based Executive Order “distinguish[es]

between prohibited and permitted activity on the basis of viewpoint,” it fails muster

under Jaycees. See Invisible Empire of the KKK v. Thurmont, 700 F. Supp. 281, 288

(D. Md. 1988) (anti-discrimination law was neither “content-neutral” nor narrowly-

tailored); Bd. of Ancient Order of Hibernians v. Dinkins, 814 F. Supp. 358, 368

(S.D.N.Y. 1993) (similar); see R.A.V., 505 U.S. at 395 (existence of content-neutral

alternatives “undercuts significantly” the constitutional viability of a statute). The

Anti-BDS Executive Order cannot be upheld against Ali’s First Amendment

challenge as an anti-discrimination law.

                    d.     Claiborne Applies to Laws Targeting Economic Regulation

      The Government similarly claims—ignoring, among other cases, Claiborne

itself—that the First Amendment is exempt from any “species of economic

regulation.” Gov. MTD at 31-32; see Claiborne, 458 U.S. at 912. The sole case the

Governor cites for his proposition involved a sales tax on goods being applied to ink

and paper. Minneapolis Star & Tribune Co. v. Minnesota Comm’r of Revenue, 460

U.S. 575, 578-70 (1983). Minnesota Star related to a viewpoint-neutral but content-

based law, and stands (in dicta) for the irrelevant proposition that speakers are not

entitled to special economic privileges. Id. at 581-85; see also Leathers v. Medlock, 499

U.S. 439, 447 (1991). Laws that are not content-neutral, like the Executive Order, are

still inappropriate. See Arkansas Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 228
                                           16
        Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 23 of 33



(1987) (distinguishing the types of acceptable laws discussed in Minnesota Star when

they are not content neutral and noting Minnesota Star law was content-based).

        Further, the rule described in Minnesota Star only applies to incidental

regulation of speakers, not regulation of speech itself. As explained above in

subsection c and in Claiborne, even neutral laws regulating economic activity, such

as antidiscrimination and antitrust laws, must meet at least the intermediate

O’Brien test for regulating speech. United States v. O’Brien, 31 U.S. 367 (1968); see

also Jaycees, 468 U.S. at 623.4

                    e.    Government Contracts are not Subsidies

        The Governor also attempts to avoid Claiborne by saying that the First

Amendment does not apply to the Government “subsidizing” individuals when it acts

as a proprietor rather than a regulator, where the Government has “significantly

greater leeway” in contracting. Gov. MTD at 32-34. The Supreme Court rejected that

argument in Wabaunsee County v. Umbehr, 518 U.S. 668 (1996). Umbehr held that

the First Amendment applies in full to government contracting decisions, with the

only distinction being that courts may consider the Government’s particular

proprietary “interests” in performing the relevant balancing test. Id. at 678-79; see




    4 The Governor claims that the O’Brien test does not have a tailoring
requirement. Gov. MTD at 28. This argument is wrong. In D.G. Restaurant Corp. v.
City of Myrtle Beach, 953 F.2d 140, 143-144 (4th Cir. 1991), the Fourth Circuit
explained O’Brien as requiring a showing that “(1) the regulation is not aimed at the
conduct's expressive element, and (2) the regulation is narrowly tailored so as not to
impinge unnecessarily on the expressive element.” This is indistinguishable from the
Jaycees test. The Governor loses even under O’Brien.
                                         17
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 24 of 33



also Pickering v. Bd. of Ed., 391 U.S. 563, 568 (1968) (same for government

employment).

      None of the cases the Governor cites stands for his proposition. The three

subsidy cases the Governor relies on are not government contracting cases, but simple

government funding cases. United States v. Am. Library Ass’n, Inc., 539 U.S. 194, 212

(2003) (funding of public library programs); Regan v. Taxation with Representation of

Washington, 461 U.S. 540, 543 (1983) (501(c)(3) tax benefits); Rust v. Sullivan, 500

U.S. 173 (1991) (Title X funds). Likewise, the two government contract cases the

Governor cites have no application to First Amendment claims. Coyne-Delany Co. v.

Capital Dev. Bd. of State of Ill., 616 F.2d 341, 342–43 (7th Cir. 1980) (no general due

process right to challenge State Government’s contracting decisions); Reeves, Inc. v.

Stake, 447 U.S. 429, 447 n.10 (1980) (partial market participation limitation to

dormant commerce clause).

      Ali is not seeking to have his boycott activities funded by the State. Nor is he

claiming an affirmative right to a government contract generally. He is simply

seeking the ability to bid on state government contracts, and to have that bid

considered on equal footing, regardless of his BDS activism.

                    f.    States Do Not Have a First Amendment Right to Punish
                          Expressive Conduct

      Finally, the Governor claims that Claiborne does not apply because the State

has a constitutional right to punish expressive conduct through the State’s own

boycotts. Gov. MTD at 34-35. The Governor’s argument relies on government speech

cases, which permit governments to express their own views. But the government


                                          18
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 25 of 33



speech cases do not hold that governments have their own affirmative rights

protected by the First Amendment, or that they may violate the First Amendment

rights of others under the guise of government speech or expressive conduct. See

McCutcheon v. Fed. Election Comm’n, 572 U.S. 185, 206 (2014) (“First Amendment

does not protect the government, even when the government purports to act through

legislation reflecting ‘collective speech’”) (citations omitted). Thus, although

individuals may have a First Amendment right to discriminate in hiring on the basis

of immutable characteristics in certain instances, Boy Scouts of Am. v. Dale, 530 U.S.

640, 656 (2000), governments do not. Likewise, even pure speech by a government

can violate the constitutional rights of others if it stigmatizes or creates an

independent legal change in an individual’s rights or status. See Paul v. Davis, 424

U.S. 693, 708–09 (1976) (discussing Wisconsin v. Constantineau, 400 U.S. 433, 437

(1971) (“where the State attaches ‘a badge of infamy’ to the citizen, due process comes

into play”) (citation omitted)). Unlike Ali, governments are not protected by the First

Amendment, do not have the right to engage in political boycotts, and cannot retaliate

against private parties for expressive conduct.

      B.     Longshoremen and FAIR Do Not Apply

      The Governor claims that Longshoremen and Rumsfeld v. FAIR, 547 U.S. 47

(2006), apply here, and require the Court to uphold the Executive Order. Gov. MTD

at 16-17. The Governor is wrong.




                                          19
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 26 of 33



             1)     Longshoremen Does Not Apply Outside of the Labor
                    Context or to Viewpoint-Based Suppression of Expressive
                    Conduct

      Longshoremen is limited to the labor context and the effect of forced boycotts

on non-consenting third parties. Longshoremen did not hold that a political boycott

was entirely unprotected speech or expressive conduct under the First Amendment.

Longshoremen recognized that boycotting can be compared to “picketing,” which is

unquestionably expressive. 456 U.S. at 226; see also Boos v. Barry, 485 U.S. 312, 318

(1988) (picketing is “classically political speech”). Instead, Longshoremen held that

the admittedly expressive nature of a labor-union boycott was overridden by the

general, viewpoint-neutral labor law prohibition against secondary boycotts, due to

those laws’ interests in protecting dissenting third parties from coerced involvement

in the boycott.     Id. at 225-26.     As Claiborne itself explained, the result in

Longshoremen was not because of a lack of First Amendment “protected activity,” but

because a labor regulation having only an “incidental” effect on protected activity may

be “justified in certain narrowly defined instances.” 458 U.S. at 912 (citations

omitted). “Secondary boycotts and picketing by labor unions may be prohibited, as

part of Congress striking of the delicate balance between union freedom of expression

and the ability of neutral employers, employees, and consumers to remain free from

coerced participation in industrial strife.” Id. (citation omitted).

      In other words, labor-specific issues permit certain bans on labor boycotts as

narrowly tailored to meet a compelling government interest.            The Governor’s

Executive Order is not a labor union regulation and the Governor lacks the same

interest here. Longshoremen is inapplicable.
                                           20
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 27 of 33



             2)     FAIR Does Not Apply to Boycotts or to Viewpoint-Based
                    Suppression of Expressive Conduct

      FAIR also does not apply. Crucial to the FAIR decision was narrowly-defined

conduct: law schools must provide physical access for military recruiters. See FAIR,

547 U.S. at 58. Once law schools supplied that access, “[t]he Solomon Amendment

neither limits what law schools may say nor requires them to say anything.” Id. at

60. The Supreme Court specifically acknowledged that law schools remained free to

engage in other protest activities, including distribute dissenting bulletins, or

picketing outside the military recruiters’ doors. See id. By limiting the issue to a

binary yes-or-no regarding physical access, the Supreme Court averted any legal

dissection of the schools’ speech or viewpoints on LGBT discrimination in the

military.

      FAIR, as limited to narrow conduct, involved an “incidental” burden on speech,

which triggers at most intermediate scrutiny. 547 U.S. at 67 (quoting United States

v. Albertini, 472 U.S. 675, 689 (1985)). Under the test relied on by FAIR, an incidental

burden on speech will be upheld if “the governmental interest is unrelated to the

suppression of free expression,” see O’Brien, 391 U.S. 367; FAIR, 547 U.S. at 65-67.

      The Executive Order creates a different situation. The Executive Order, by its

terms, requires the state to scrutinize “ordinary” versus “anti-Israel” economic

transactions. The Governor objects to conduct only when it expresses a viewpoint with

which he disagrees. See Koontz, 283 F. Supp. 3d at 1023 (“conduct the Kansas Law

aims to regulate is inherently expressive” under Claiborne); see also Section A(2)(c),

above. The purpose of the Executive Order is to sanction BDS expression and support


                                          21
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 28 of 33



Israel – therefore the Governor’s interest is directly aimed at the suppression of free

expression.

      Further, FAIR conspicuously does not refer to the law schools’ actions as a

boycott. Instead, the Supreme Court states that the conduct involved was simply

“treating military recruiters differently from other recruiters.” 547 U.S. at 66. FAIR

does not mention Claiborne, SCTLA, or Longshoremen at all. When the Supreme

Court overrules, abrogates, or distinguishes prior decisions, it does so expressly. The

Supreme Court’s unanimous, narrow decision in FAIR should not be read to have

upset decades of prior boycott caselaw covertly and without dissent. See Koontz, 283

F. Supp. 3d at 1023-24 (distinguishing FAIR, in part by noting that “boycotts—like

parades—have an expressive quality”) (citing Claiborne); Jordahl, 336 F. Supp. 3d at

1042-43 (distinguishing FAIR).

      C.      Arkansas Times Is Wrongly Decided

      Arkansas Times, relied on by the Governor (Gov. MTD at 19 and 24) is wrongly

decided for the same reasons the Governor’s Longshoremen and FAIR arguments

should be rejected as described above. Arkansas Times reaches its primary holding

that an anti-Israel-boycott prohibition does not regulate expressive conduct by

distinguishing speech in support of a boycott (which Arkansas Times claims is

protected) from the act of boycotting itself (which Arkansas Times claims is not). 2019

WL 580669 at *6. But as noted above in Section A(2)(b), Claiborne specifically rejected

that distinction. Along the same lines, Arkansas Times also relies on FAIR, arguing

that “[i]t is highly unlikely that, absent any explanatory speech, an external observer

would ever notice that a contractor is engaging in a primary or secondary boycott of
                                          22
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 29 of 33



Israel.” 2019 WL 580669 at *5. But in Maryland, the “explanatory speech” is

compelled by the Executive Order itself and embodied in the “No Boycott of Israel”

certification requirement. See Jordahl, 336 F. Supp. 3d at 1042 (requiring a “promise

to refrain from engaging in certain actions that are taken in response to larger calls

to action that the state opposes” is “infringing on the very kind of expressive conduct

at issue in Claiborne”); see Section IV, below.

      D.     Jordahl Is on All Fours with this Case

      Jordahl vindicates Ali’s claims. “Claiborne stands for the proposition that

collective boycotting activities undertaken to achieve social, political or economic ends

is conduct that is protected by the First Amendment.” Jordahl, 336 F. Supp. 3d. at

1041. BDS laws like both the Arizona statute and the Maryland Governor’s Executive

Order only prohibit boycotts when “taken ‘in compliance with or adherence to calls

for a boycott of Israel.’” Id. at 1042; see also Executive Order at § B(1) (penalizing

individuals “engaging in a boycott of Israel”). “Indeed, the collective element of the

actions that are prohibited, together with the potential reach of what activities

constitute ‘other actions,’ is what distinguishes this Act from those statutes that

lawfully prohibit conduct that is not inherently expressive.” Jordahl, 336 F. Supp. 3d.

at 1042 (citing FAIR); see also Executive Order at §§ A(1) and (C) (penalizing “other

actions intended to limit commercial relations” with Israel).

      The Governor claims that Jordahl supports upholding the Executive Order.

Gov. MTD at 20 and 26. According to the Governor, Jordahl only struck down the

Arizona law because that anti-BDS act expressly prohibited boycotts against Israel

that “are taken as part of a larger calls to action.” Id. at 26. Not so. Rather, Jordahl—
                                           23
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 30 of 33



paralleling the language of the statute—explained that boycotts of Israel are always

taken as part of larger calls to action. 336 F. Supp. 3d at 1033 and 1048. That is

inherent in the very concept of boycotts. Times-Picayune Pub. Co. v. United States,

345 U.S. 594, 625 (1953) (“group boycotts, or concerted refusals to deal”) (emphasis

added); Anglin v. Blue Shield of Va., 693 F.2d 315, 322 (4th Cir. 1982) (“an individual

refusal to deal” is not a boycott). Excluding the magic words “larger calls to action”

from the Arizona statute would not have changed Jordahl’s result.

      Nor does Jordahl’s result turn on the inherent collective nature of boycotts.

Instead, Jordahl turns on the fact that a boycott of Israel is politically motivated and

therefore expressive conduct. 336 F. Supp. 3d at 1047; see also SCTLA, 493 U.S. at

415-16. Because BDS boycotts are politically motivated and therefore expressive, and

because Arizona’s anti-BDS Act was not narrowly-tailored to meet a compelling

government interest, it was unconstitutional. Id. at 1049. Jordahl also found the

Arizona anti-BDS law unconstitutional because, like here, it put an unconstitutional

condition on government employment, id. at 1045-46, and because, like here, it

unconstitutionally compelled speech, id. at 1042 (“when a statute requires a company,

in exchange for a government contract, to promise to refrain from engaging in certain

actions that are taken in response to larger calls to action that the state opposes, the

state is infringing on the very kind of expressive conduct at issue in Claiborne”); see

also Section IV, below.

      Jordahl is not distinguishable. Applying it here renders the Executive Order

unconstitutional and requires denial of the Governor’s Motion to Dismiss.



                                          24
        Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 31 of 33



IV.    THE EXECUTIVE ORDER UNCONSTITUTIONALLY COMPELS
       SPEECH

       The Maryland Executive Order unconstitutionally compels contractors and

 bidders to certify that they will not boycott Israel. This loyalty oath to Israel

 specifically violates what the Supreme Court has called a “fixed star in our

 constitutional constellation.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642

 (1943). It does so by “prescrib[ing] what shall be orthodox in politics” and forcing Ali

 to sign a loyalty oath compelling him “to confess by word or act [his] faith” in that

 pro-Israel orthodoxy. See id.

       The government is constitutionally prohibited from requiring contractors to

 pledge allegiance to its preferred policies. Agency for Int’l Dev. v. All. for Open Soc’y

 Int’l, Inc., 570 U.S. 205, 220–21 (2013). State governments cannot condition

 employment “on an oath that one has not engaged, or will not engage, in protected

 speech activities.” Cole v. Richardson, 405 U.S. 676, 680 (1972) (collecting cases).

 Even if FAIR could otherwise justify the Executive Order because it prohibits conduct

 that lacks a speech component, see Section III(B)(2) above, the Executive Order

 separately requires that speech component from Ali and others. The result compels

 the very speech that reveals the Governor’s viewpoint-based ban on expressive

 conduct and makes the Executive Order unconstitutional.

       The Governor’s Motion to Dismiss does not address this separate

 unconstitutional provision of the Executive Order. His Motion must be denied on

 those grounds alone.




                                            25
       Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 32 of 33



V.    THE EXECUTIVE ORDER IS VAGUE AND OVERBROAD

       Laws are unconstitutionally vague where “men of common intelligence must

necessarily guess at [their] meaning.” Coates v. Cincinnati, 402 U.S. 611, 614 (1971)

(internal citation omitted). It is by no means clear what exact activities the Governor

intends to prohibit through the Executive Order. The Governor’s definition of

“Boycott of Israel” encompasses more than just economic conduct, i.e., “the

termination of or refusal to transact business activities” with Israel. See Executive

Order § A(1). The definition also contains a catch-all against “other actions intended

to limit commercial relations.” Id. Such other actions “intended to limit commercial

relations” easily encompass pure political speech about Israel’s maltreatment of

Palestinians, if done with the intent to persuade others to economically boycott Israel.

They readily extend to any activity done in response to the Boycott, Divestment, and

Sanctions movement. The vagueness of the Executive Order and its “Boycott of

Israel” definition operates to chills free speech, expression, and association.

      Likewise, the Governor does not even seem to realize who the law regulates.

The Governor issued the Executive Order apparently believing it does not regulate

individuals like Ali. But he failed to limit the term “business entity” to artificial

single-purpose entities, including sole proprietorships. And he failed to limit the

reach of the Executive Order to “business entit[ies],” in any event; Section C requires

a “No Boycott of Israel” certification from all bidders, including Ali.

      The Governor’s Motion also fails to address this separate constitutional

deficiency. The Motion must thus be denied for these grounds alone.



                                           26
      Case 1:19-cv-00078-CCB Document 11 Filed 03/25/19 Page 33 of 33



                              CONCLUSION

      The Court should deny the Governor’s and Attorney General’s Motions to

Dismiss.

March 25, 2019                     CAIR LEGAL DEFENSE FUND

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                                     27
